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                                                             Gina W Spearman (OWS)
                                                             E-signed 2O1B11-Q6 11:53AM EST
                                                             ginas@spearniania.com

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                                                             SCHEDULE             I
                                       REGIONAL MANAGER COMPENSATION DETAILS



        Regional Manager Name:                    Gina Spearman

           Region Managed:               Southeast Division




OFE/LE Application Effective Date: This Compensation Agreement is effective between Gina Spearman
('Regional Manager') and New American Funding ("NAF") for all GFE/LE Applications taken on or after
November 1, 2016.

Regional Manager Territory established territory identified as:

Southeast

Territories are subject to change at any time by the discretion of Executive Management.

      1.          Compensation

            1.1      Salary    -       Regional Manager will be paid salary of $1,760.00 bi-weekly. If manager holds an
additional position at NAF and is provided an additional Schedule Iwith such other compensation
agreement, Regional Manager will only be paid one bi-weekly salary of $1,760.00.


1.2         Commissions            -   Regional Manager will be paid commissions for hislher personal Regional
originations as set forth in the attached Schedule 1A                   -    Commission Schedule subject to a reduction for the
bi-weekly salary described as follows: Regional Manager's bi-weekly scheduled salary of $1760 will be
deducted from Regional Manager's commissions earned in that same bi-weekly period. Commissions are
earned on the date the loan funds. The Schedule IA                       -   Commission Schedule in effect on the date the initial
loan application is taken in NAF's Encompass system, and not the compensation scheme in effect on the
date the loan closes or funds, shall dictate the commissions amount the Regional Managerwill earn for that
loan.

                    YES',   see        attached Schedule IA— Commission Schedule Outside Sales

               X    NO, not applicable to this Regional Manager Schedule 1




  Check "YES" if this schedule is applicable for this Regional Manager Agreement Otherwise check "NO".


           Employee Initials
                                       a                                                                                               Page 1of 6

                                                         Employee's initial indicates that this page has been read and is understood In its entirety.

           Revised 3118/16
            GFE/LE Applications refers to the Good Faith Estimate/Loan Esti
                                                                          mate applications.


                                                                                        DEFENDANT'S
                                                                                        '

                                                                                   b'     EXHIBIT                                      MW_0000188

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         Case 1:20-cv-04981-CAP Document 111-6 Filed 05/02/22 Page 2 of 51



                                                   Gina W Spearman (GWS)
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Gina Spearman
October 27, 2016
Schedule 1—Regional Manager                                                                Adobe Sian r,W,dacl:on Number cuicle3CAA
Page o16


1.3      override Bonus       -   Regional Manager is eligible for amonthly bonus payment based on their direct
reports production of funded loans in acalendar month ("Override Bonus). Override Bonus is earned on the
last calendar day of a month. Regional Manager must be employed and assigned as the Regional Manager
of the direct reports on both the first and last day of the month to be eligible to earn Override Bonus for that
branch for that month.


Override Bonus shall be paid on the 10th day of the month following the production month unless that day is
aweekend or holiday, in which case Override Bonus will be paid on the following business day. When
applicable, Regional Manager shall only be paid the greater of either Override Guarantee as provided for in
Regional Manager's offer letter or Override Bonus as defined above. Under no circumstances will aRegional
Manager be paid both the Override Guarantee and Override Bonus. The Override Bonus formula is identified
below:

         [(applicable number of basis points (bps) earned in a calendar month as set forth in 1.4 and
          1.4.A below and subject to the (imitations of 1.4.8 MULTIPLIED BYtotal volume originated by
         branch) MINUS Items listed in 1.4. C PLUS any applicable Override Bonus Add-On described
         in in 1.4.D below]

         1.4        Override Bonus Calculation Table              -   Override Bonus payable to Regional Manager shall be
calculated per the Override Bonus Calculation Table below. Loan Volume and Units funded by managed
territory branches during acalendar month will receive the BPS shown in the Override Bonus Calculation
Table unless specified otherwise as follows:


                •   Loan scenarios listed in 1.4.A will earn the bps indicated in 1.4.A
                •   No Override Bonus is paid on the loan scenarios listed in 1.4.B
                •   Override Bonus to Regional Manager will be reduced by the amounts shown in l.4.0
                •   The Override Bonus to Regional Manager will also include the Override Bonus Add-on shown
                    in 1.4.D, if indicated by 1.4.0


Total Loan Volume and Units funded by the Regional Manager's direct reports during the calendar month
shall be included in the below Calculation Table except that Piggyback Junior Lien Loans, closed end second
lien loans, and Secondary Market Issue loans (loans funded to refinance abad unsalable loan) are not
included:




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 Schedule 1 RegiorTsl Manager Agreement
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Gina Spearman
October 27, 2016
Schedule 1—Regional Manager
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                            Override Bonus Calculation Table (South East Region)
    Loan Volume and Units Originated by Territory to be split 70% to Kelly
    and 30% to Gina Spearman: (see 1.4.B for loans excluded from override payout)                                         25 BPS
    Excludinq Pioqvback, Jumbo, Junior Lien Loans and Secondary Market Issue Loan
    Loan Volume and Units Originated by Branch to be split 70% to Kelly
    Morrison and 30% to Gina Spearman: Excluding Branch Manager loans, Piggyback                                          30 BPS
    Junior Lien Loans and Secondary Market Issue Loans      -



    Please Review Schedule 7 For Allocations to Authorized Personnel


                                            Compensation Differential

      Kelly and Gina are eligible to receive compensation differential not to exceed 140 BPS in total
      compensation on self-generated loans and house accounts as well as 75 bps maximum
      compensation on brokered loans compensation on all their direct reports.                             Kelly and Gina will
      split the compensation differential with 70% to Kelly and 30% to Gina. Kelly Morrison will be
      responsible for notifying accounting of the 70/30 split each pay period.


        1.4,A The following loan scenarios will not receive the Override Bonus BPS shown in the above table
but will instead will receive the BPS shown as indicated below:
        *       Branch Jumbo Funded Loans (Excluding Kelly Morrison): Max 20 bps (70% to Kelly Morrison and
                30% to Gina Spearman, See Schedule 7for bonus allocations)
        •       Loans funded by loan officer recruits placed by recruiting firm or internal Recruiting Department
                during the first 18 months of employment of such loan officer recruits: these loans will receive the
                BPS from Override Bonus Calculation Table above minus 5 bps

1.4.8 No Override Bonus will be paid on the following loans:
                  •   Regional Manager Personal Loan Production
                  •   Brokered Loans
                  •   Down Payment Assistance Loans IBond Loans
                  •   Secondary Market Issue Loans (loans fund funded to refinance a bad unsalable loan)
                  •   Loans where the Regional Manager elects in writing to waive all override compensation on
                      such loan.
                  •   Piggyback Junior Lien Loans (2 rd Mortgages) and Closed-end Second Lien Loans
                  •   Loans that have a GFE1LE Application date which precedes the effective date of this
                      Schedule 1.
                  •   Loan Applications taken during Monetary Guaranty Period. This refers to loan applications
                      taken by loan consultants that have been hired with a monetary guaranty of $5000 per
                      month or greater. If the GFE/LE application is taken during the Monetary Guaranty Period,
                      then these loans are not eligible for an Override Bonus unless the loan consultant's
                      commissions for any month exceed the amount of the Guaranty. Regional Manager shall

                                                                                                                                         Page 3of 6
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 Schedule I Regional Manager Agreement
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 Revised 8/19/16



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October 27, 2016
Schedule I Regional Manager
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Page 4of 6


                       notify Secondary Marketing regarding any loan that qualifies for Override Bonus as
                       described in this paragraph. See attached Schedule 4.

                       -           YES', see attached Schedule 4—No Override During Guarantee Period

                               X   NO, not applicable to this Area Manager Schedule 1

         1.4.0 The following items will be deducted from the Override Bonus calculation:
                       Any portion of Regional Manager's bi-weekly salary if not already deducted from Regional
                           Manager's Commissions as shown in Section 1.2 above.
                   a   ASA /Desk Rental Allocation (defined as an amount representing 50% of any ASA or Desk
                           Rental Fee. See attached Schedule 5.

                       -           YES', see attached Schedule 5—Additional Manager Allocations

                               X   NO, not applicable to this Regional Manager Schedule I

                   •       Regional Manager will be reduced 5BPS on candidates sourced by internal and external
                           recruiters.

                                    YES', see attached schedule 6— Recruiting Allocation Form

                               X   NO, not applicable to this Regional Manager Schedule 1

                   • Overrides to Authorized Personnel that are identified on the Overrides to Authorized
                           Personnel Addendum if indicated below:

                           -        YES', see attached Schedule 7 Overrides to Authorized Personnel Addendum
                                                                            -




                               X   NO, not applicable to this Regional Manager Schedule 1

          11.4.1131 Where applicable, Regional Manager will be paid an Override Bonus Add-On as shown on the
          Compensation Differential Schedule(s) if indicated below:

                                    YES 2,see attached Schedule 8 Compensation Differential Schedule(s)
                                                                             -




                               X   NO, not applicable to this Regional Manager Schedule 1




 'Check "YES" if this schedule is applicable for this Regional Manager Agreement. Otherwise check "NO".
  Check "YES" if this schedule is applicable for this Regional Manager Agreement. Otherwise check "NO".
                                                                                                                                                Page 4 of 6

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 Schedule 1— Regional Manager Agreement
 Revised 8119/16




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Gnu Spearman
October 27, 2016
Schedule I Regional Manager
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Pages of 6


          1.4.E Regional Manager Overrides shall be paid out on the Direct Reports of the Regional Manager
          as indicated below:

                                YES', see attached Schedule 9— Direct Reports Schedule

                            X   NO, not applicable to this Regional Manager Schedule I


2.        Transfers


          2.1         Transfer In   -   Compensation will commence on any licensed employee transferring into one of
your designated branches effective on the GFEJLE application effective date as verified by the signed and
approved employment status change form.


          2.2         Transfer Out.- Compensation will cease on any licensed employee transferring out of any of
your designated branches effective on the GFE/LE application effective date as verified by the signed and
approved employment status change form.



3.        Separation or Termination.


          3.1         Commissions       -   Regional Managerwill be paid for all loans which have funded on termination
and for loans originated by the Regional Manager which fund within 30 days of termination.


          3.2         Override Bonus- Regional Manager must remain actively employed with New American
Funding on the first and last calendar day of the month in order to be eligible to receive Override Bonus, no
prorated or partial override bonuses will be authorized or permitted.


4.        Modification of Compensation. Regional Manager's Compensation including but not limited to:
Commissions, and Override Bonus may be restructured and/or adjusted up or down by Company, in its sole
discretion. Regional Manager shall be provided notice of any adjustments as required by law.



                                                                             Gina W Spearman (GWS)
                                                                             E-signed 2016-11-06 11:53AM EST
                                                                             ginas@spearmania com      .




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Schedule I     -   Regional Manager Agreement
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October 27, 2016
Schedule 1—Regional Manager
Page   of 6


IN WITNESS WHEREOF, the undersigned have executed this Schedule 1document effective as of the date
first set forth above.

                   cZ2J                                                         Nov 6, 2016
                   Employee   -   Signature                                     Data


                   Gina W Spearman
                   Employee   -   Print Name




                   .Jan Presto, EVP Retail Division                             Date




                   Christy Bunce, COO                                           Date




                                                                          Gina W Spearman (GWS)
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Schedule 1 Regional
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       -3< newamerloan
       Gina Spearman


                                                  SCHEDULE    4

                               No OVERRIDE DURING         LO GUARANTY PERIOD

       Regional Manager Name: Gina Spearman

       Region Managed: Southeast Division

       Effective Date: April 22, 2019

       Purpose    -   This document is to be used in connection with the Schedule I Regional Manager
                                                                                 -




       Agreement.

       The below referenced are the Loan Consultants as indicated in section 1.4.8 of Schedule I  -




       Regional Manager Agreement. The details of the deductions are described in the section below:

Effective Hire           Name of Recruit                   Amount of Guaranty        Draw End Guaranty
Date
11/26/2016               Daniel Caro                       $40,000 months 1& 2       07/2612019
                                                           $36,000 months 3-6
                                                           $35,000 month 7
                                                           $30,000 month 8
01/01/2019               Eric Glick                        $160,000 month 1          05131/2019
                                                           $140,000 month 2
                                                           $130,000 month 3
                                                           $120000 month 4
                                                           $100,000 month 5
12126/2018               Angel Dodson                      $6,000 month 1            04/19/2019
                                                           $5,000 month 2
                                                           $5,000 month 3
                                                           $4,000 month 4
01/31/2019               Teresa Rutherford                 $45,000   month   1       05/03/2019
                                                           $40,000   month   2
                                                           $35,000   month   3
                                                           $20,000   month   4
01/31/2019               Wendy Nelson                      $20,000 month 1           04/19/2019
                                                           $18,000 month 2
                                                           $15,000 month 3


01/21/2019               Kelly Bergenstock                 $15,000 month 1           04/19/2019
                                                           $15,000 month 2
                                                           $14,000 month 3


                         James Hicks                       $5,000 for 3months        04/1912019
01/21/2019




                                                                                             Page 1of 2
       Schedule 4—No Override During LO Guaranty Period
        Revised 912/15




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       Gina Speannan

4/1/2019                           Christine O'Brien                      $10,000 month 1             7/14/2019
                                                                          $10,000 month 2
                                                                          $9,000 month 3

4/2212019                          Amber Armstrong                        $8,000 month 1              7/26/2019
                                                                          $8,000 month 2
                                                                          $2,000 month 3




       IN WITNESS WHEREOF, the undersigned have executed this three (3) page No Override During
       LO Guaranty Period Form as of the date shown below:




                                   6W
                                          -      iltmalv
                                              an Apr 24, 2Ij19
                                                                                  Apr 24, 2019
                                   Employee       -   Signature                   Date


                                    gina spearman
                                   Employee       -   Print Name




                                   Jan Presto, EVP Retail Division                Date




                                   Christy Bunce, COO                             Date



                                                                                   gina spearman (gws)
           Adobe SI8E Troncorlon                 BMznolrnerliMvp._   0-            E-signed 2019-04-24 10:35AM EDT
                                                                                   gina.spearman@nafinc.com




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           schedule 4—No Override During LO Guaranty Period
           Revised 9/2/15



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.3' newamerICafl
                                              SCHEDULE 6
                                    RECRUITING ALLOCATION FORM



   Regional Manager Name: Gina Spearman

   Regional Managed: Southeast Reqion

   Effective Date: Aoril 29, 2019

    Purpose—This document is to be used in connection with the Schedule I Reg iona IManager
                                                                             -




   Agreement where New American Funding allows the Regional Manager to allocate expenses
   out of the Regional Manager Override

   The below referenced are the Regional Manager Allocations as indicated in section 1.4.0 of
    Schedule 1 Regional Manager Agreement. The details of the deductions are described in the
                 -




    section below:

                                          Amount      Name of Recruiter or   It of      Date
Effective     Name of Recruit
                                          of BPS      Recruiting Firm        Months     Recruiting
Hire Date
                                          that will                                     Allocation
                                          be                                            Expires
                                          allocated
1012/2017     Scott Chapman
                 This recruitlnq
              deduction will be split                                                       4/212019
                                            5 BPS         Paul Pritchard         18
              50/50 with Kelly
              Morrison Allison    *4*


10/25/2017    Luis Caicedo
              *4*Thls recruitlnq
          deduction will be split                                                          4I25!2019
                                            5BPS          Paul Pritchard         18
          50/50 with Kelly
          Morrison Allison
9/26/201T Albin Suvalic
             This recrultinq
          deduction will be split                                                           3/26/2019
                                            5 BPS         Paul Pritchard         18
               60/50 with Kelly
               Morrison Allison
 11/1/2017     Deanna Matney
               ***
                 This recrultlnq
               deduction will be split
               50/50 with Kelly             5BPS           Paul Pritchard        18          5/1/2019
               Morrison Allison


11/2012017     JaNeen c30re***This
               recruitinci deduction
                                                                                            5/20/2019
               will be split 60/50 with                    Paul Pritchard        18
                                            5 BPS
               Kelly Morrison Allison
               *4*


 11/20/2017    Florica Shepherd
                                             5BPS          Paul Pritchard        18         5/20/2019
               ***This recrultinq
                                                                                      Page 1of 2



     Revised 1/14/15




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       Cnewamerioan
    Gina Spearman
    Schedule 6

             deduction will be split
             50)50 with Kelly
             Morrison Allison
11/20/2017   Jeff Speer-- This
             recruitinq deduction
             will be spilt 50/50 with                                  18   5/20/2019
                                             5 BPS   Paul Pritchard
             Kelly Morrison Allison


11/20/2017   Anthony Holt     This
             recruitinq deduction
             will be split 50/50 with                                  18   5/20/2019
                                             5 BPS   Paul Pritchard
             Kelly Morrison Allison

12/01/2017   Janet ReimannThis
             recruitinq deduction
             will be split 50/50 with                                        6/1/2019
                                             5 BPS   Paul Pritchard    18
             Kelly Morrison Allison


 1/2/2018    Ron Dorko**Thls
             recruitinq deduction
             will be split 50(50 with                Paul Pritchard    18    7/2/2019
                                             5BPS
             Kelly Morrison Allison

 118/2018    Alvin JamiesonThis
             recruitinq deduction
             will be split 50(50 with        5 BPS   Paul Pritchard    18    7/8/2019
             Kelly Morrison Allison



 211/2018     Jeff Stodghill'This
              recruitinq deduction
              will be split 50/50 with               Paul Pritchard    18     8/112019
                                             5 BPS
              Kelly Morrison Allison


 2/1/2018     Eric GlickThis
              recruitinq deduction
                                                                              8/1/2019
              will be split 50150 with                                 18
                                             5BPS    Paul Pritchard
              Kelly Morrison Allison


 2(20/2016    Bernie ReboIlarThis
              recruitinq deduction
                                             5BPS    Paul Pritchard    18    8/20(2019
              will be split 50/50 with
              Kelly Morrison Allison

 2/26/2018    Lacey Jones***ThlS
              recruitinq deduction
                                             5 BPS    Paul Pritchard   18     8126/2019
              will be split 50(50 with
              Kelly Morrison Allison
              *1*




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     Schedule 6—Recruiting Allocation Form
     Revised 1/1/2017



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    4' newamericon
    Gina Speaman
    Schedule 6


3/30/2018    EdgarVillamil***Thls
             recruitinq deduction
             will be split 50/50 with        5 BPS   Paul Pritchard   18    9/30/2019
             Kelly Morrison Allison


4/30/2018    Jennifer Toomey
             ***This recruitinq
             deduction will be split         5BPS    Paul Pritchard   18   10/30/2019
             50/50 with Kelly
             Morrison Allison
6/25/2018    Sonia Zin
             *h*Thi s recrultlnQ
             deduction will be split         5BPS    Paul Pritchard   18   12/25/2019
             50/50 with Kelly
             Allison M orr i
                           s on*

5/17/2018    Kate Redman
               This recrultlnq
             deduction will be split         5BPS    Paul Pritchard   18   11/17/2019
             50/50 with Kelly
             Allison Morrison
5/17/2018    Jason Redman
             ***This recruitinq
             deduction will be split         5BPS    Paul Pritchard   18   11/17/2019
             50/50 with Kelly
             Allison Morrison"
5117/2018    Tammy White
             ***This recruitinq
             deduction will be split         5BPS    Paul Pritchard   18    11/17/2019
             50/50 with Kelly
             Allison Morrison
5/17/2018    Kenneth Smith
             "*This recruitinq
             deduction will be split                 Paul Pritchard   18    11/1712019
                                             5 BPS
             50/50 with Kelly
             Allison Morrison

5/17/2018     Kasie Willis
                This recruitinq
              deduction will be split        5 BPS   Paul Pritchard   18    11/17/2019
              50/50 with Kelly
             Allison Morrison
 5/17/2018    Linda Williams
                This recruitinq
              deduction will be split        5BPS    Paul Pritchard   18    11/17/2019
              50/50 with Kelly
              Allison Morrison
 5/17/2018    Vickie Goodin
              *"This recruitinq              5BPS    Paul Pritchard   18    11/17/2019
              deduction will be split


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    Schedule 6— Recruiting Allocation Form
    Revised 111/2017




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   Gina Spearman
   Schedule 6

             50(50 with Kelly
             Allison Morrison     ***

5/17/2018    Sean Clack
             ***Thi s recruitinq
             deduction will be split         5BPS    Paul Pritchard   18   11/17/2019
             50/50 with Kelly
             Allison Morrison
5/21/2018    Rochelle Crowder
             ***This recruitinq
             deduction will be split         5BPS    Paul Pritchard   18   11/21/2019
             50/50 with Kelly
             Allison Morrison
611/2018     Rosner Carnegie
             ***This recruitinq
             deduction will be split         5BPS    Paul Pritchard   18   11/18/2019
             50/50 with Kelly
             Allison Morrison
7/23/2018    Kelly Kett
                This recruitinq
             deduction will be split         5 BPS   Paul Pritchard   18    1/23/2020
             50/50 with Kelly
             Allison Morrison
7(30/2018    Brandon Hargrove
               'This recruitinq
             deduction will be split         5 BPS   Paul Pritchard   18    1/30)2020
             50/50 with Kelly
             Allison Morrison'
8/1/2018     Terrell Stubbs
             ***This recruitinq
             deduction will be split         5 BPS   Paul Pritchard   18     2/112020
             50/50 with Kelly
             Allison Morrison
8/6/2018     Magali Cadet
                This recruitinq
             deduction will be split         5BPS    Paul Pritchard   18     2/812020
             50/50 with Kelly
             Allison Morrison

8113/2018    Laura Agee
             ***This recruitinq
             deduction will be split         5BPS    Paul Pritchard   18    2/13/2020
              50/50 with Kelly
              Allison Morrison***
8/20/2018     Eric Fellows
              "*This recruiting
              deduction will be split        5 BPS   Paul Pritchard   18     2/20(2020
              50/50 with Kelly
              Allison Morrison*
8/15/2018     Michele Hoefle
              ***This recruitinq             5BPS    Paul Pritchard   18     2/15/2020
              deduction will be split
                                                                           Page 4of 10
    ScheduleS — Recruiting Allocation Form
    Revised 11112017




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   Case 1:20-cv-04981-CAP Document 111-6 Filed 05/02/22 Page 13 of 51



    *newa                  eric'an
   Gina Spenirnan
   Schedule 6

             50/50 with Kelly
             Allison Morrison t

8/2012018    Kurt Olson
             tk*This recruitinq
             deduction will be split       5 BPS   Paul Pritchard    18    2/20/2020
             50/50 with Kelly
             Allison Morrison***
8/2012018    Kitty Cole
                Thls recruitinq
             deduction will be split       5 BPS   Paul Pritchard    18    2120/2020
             50/50 with Kelly
             Allison Morrison*
9/4/2018     Juan Giraido
                This recruitinq
             deduction will be split       5 BPS   Paul Pritchard    18     3/4/2020
             50/50 with Kelly
             Allison Morrison
9/17/2018    Bryce Sellers
             ***This recruitinq
             deduction will be split       5 BPS   Paul Pritchard    18     3/17/2020
             50/50 with Kelly
             Morrison Allison
10/15/2018   Justin Lee
             ***This recruitinq
             deduction will be split       5 BPS   Paul Pritchard    18     4/15/2020
             50/50 with Kelly
             Morrison Allison
1011512016   Keith Collison
             "*This recruitinq
             deduction will be split       5 BPS   Paul Pritchard    18     4/15/2020
             50/50 with Kelly
             Morrison Ailison
9/24/2018    David Howard
                This recruitinq
                                           5 BPS   Paul Pritchard    18     3/24/2020
             deduction will be split
             50/50 with Kelly
             Morrison Allison
9/24/2018    Jerry Hansley
             ***This recruitinq
                                           5 BPS   Paul Pritchard    18     3/24/2020
              deduction will be split
              50/50 with Kelly
              Morrison Allison*n
 9/24/2018   John Pennington
             ***This recruitinq
             deduction will be split       5 BPS    Paul Pritchard   18      3/24/2020

              50(50 with Kelly
              Morrison Alllson***
 10/8/2018    Anna Wilson                  5BPS     Paul Pritchard    18     4/8/2020


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    SeduleS — Recruiting Allocation Fcmi
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    -                       leri          n
   Gina Spearman
   Schedule 6

               This recruitinq
             deduction will be split
             50/50 with Kelly
             Morrison Allison**
10/8/2018    Becky Young
             ***This recruiting
             deduction will be split          5BPS    Paul Pritchard     18       4/8/2020
             50/50 with Gina
             Spearma n'
10/29/2018   Douglas (Clay) Boone
             ---This recruitinq

             deduction will be split          5BPS    Paul Pritchard    18 mos   04/29/2020
             50150 with Kelly
             Morrison Allison
10/29/2018   Jim williams
                This recruitinq
             deduction will be split          5 BPS   Paul Pritchard    18 mos   04/29/2020
             50/50 with Kelly
             Morrison AIlison
10/29/2018   Elizabeth Gibson
             ***This recruitinq
              deduction will be split         5BPS    Paul Pritchard    18 mos   04/29/2020
              50/50 with Kelly
              Morrison Allison**k
11/05/2018    Rita Hazell
               **This recruitinq
                                              5BPS    Paul Pritchard    18 mos   05/05/2015
              deduction will be split
              50/50 with Kelly
              Morrison Alll s on***
11/05/2018    Quentin Hazell
              ***This recruitinq
                                              5 BPS   Paul Pritchard    18 mos   05/0512018
              deduction will be split
              50150 with Kelly
              Morrison Alllson**
              Heather flowers
              ***Thls recruitinq
                                              5bps    Paul Pritchard    18 mos    06/03/2018
12/03/2018    deduction will be split
              50/50 with Kelly
              Morrison Allison"
              Daniel Caro
              —Th i s recruitinq
11/26/2018    deduction will be split                  Paul Pritchard   18 mos    05/26/2020
                                               5bps
              50/50 with Kelly
              Morrison Allison***


               ***Thi s recrultlnq
01/0112019     deduction will be split         5bps    Paul Pritchard   18 mos    07/01/2020
               50/50 with Kelly
               Morrison Allison***


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     ScheduleS — Recruiting Allocation Form
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        Gino Speanian
        Schedule 6


    13/08/2018   Amy Humanchuk
                 ***This recruitinq
                  deduction will be split         5 BPS   Paul Pritchard     18         4/8/2020
                  50/50 with Kelly
                  Morrison Alli son **
    1012212018   Sandra Guardia
                 ***This recruitinq
                 deduction will be split          5 BPS   Paul Pritchard     18        4/22/2020
                 50/50 with Kelly
                 Morrison Allison**
    12/03/2018    Karla Loera
                    This recruitinq
                  deduction will be split         5 BPS   Paul Pritchard     18        06/03/2020
                  50/50 with Kelly
                  Morrison Allison*
     117/2019     Ligia Evelyn Olivares
                  *"This recruitinq
                  deduction will be split         5 BPS   Paul Pritchard     18         0717/2020
                  50/50 with Kelly
                  Morrison Alllson
    12/28/2018    Angel Dodson
                  *'*This recruitinq
                  deduction will be split         5BPS    Paul Pritchard     18        06/26/2020
                  50/50 with Kelly
                  Morrison Allison
    01/3112019    Teresa Rutherford
                  ***This recruitinq              5 bps   Paul Pritchard
                  deduction will be split                                    18        06/3012020
                  50150 with Kelly
-                 Morrison Allison
    01/31/2019    Wendy Nelson
                  "*This recruitinq               5 bps   Paul Pritchard
                  deduction will be split                                        18    06/30/2020
                  50/50 with Kelly
                  Morrison Allison
    01/31/2019    Kelly Bergenstock               5bps
                  "*This recruitinq                       Paul Pritchard
                  deduction will be split                                        18     06/30/2020
                  50/50 with Kelly
                  Morr ison Allison***

                                                                                        07/22(2020
    01/22/2019    John Biddle                      5bps   Paul Pritchard    18   mos
                   **This recruitinq
                  deduction will be split
                   50/50 with Kelly
                   Morrison Allison*
                                                   5bps    Paul Pritchard   18 mos      07/31/2020
    01/31/2019     Kim James
                   1 *
                     This recruitlnc%
                   deduction will be split
                   50/50 with Kelly
                   Morrison Allison

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         Schedule 0— Recruiting Allocation Form
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    Gina Spearman
    Schedule 6


01/14/2019   Robin Harris                    5bps    Paul Pritchard     18      07/1412020
             *This recruitinq
             deduction will be split
             50/50 with Kelly
             Morrison Alllson
01/21/2019   James HicksThis                 5bps    Paul Pritchard     18      07/21/2020
             recruitlnq deduction
             will he split 50/50 with
             Kelly Morrison
             Alli s on***
01/28/2019   Shiba Kelley-                   5bps    Paul Pritchard     18      07/28/2020
             RobinsonThis
             recruitlnq deduction
             will be split 50/50 with
             Kelly Morrison
             Allison*
02/01/2019   Manny King                      5 bps   Paul Pritchard   18 mos    08/01/2020
              'This recruitinq
             deduction will be split
             50/50 with Kelly
             Morrison Allison*n
03/01/2019   Erika Murillo                   5bps    Paul Pritchard   18 rims   09/01/2020
             ***Thi s recruitinq
             deduction will he split
             50/50 with Kelly
             Morrison Alli son *
             Steve HoefleThls                5bps    Paul Pritchard   18 mos     8/25/2019
2/25/2019
             recrultlnq deduction
             will he split 50/50 with
             Kelly Morrison
             Alli son ***
             Kathryn Nesbitt***This          5bps    Paul Pritchard   18 mos     8/28/2019
2/28/2019
             recrultinq deduction
             will be split 50/50 with
             Kelly Morrison
             Allison
             Jennifer Bryan t***This         5bps    Paul Pritchard   18 mos      9/1/2019
 3/1/2019
             recrultinq deduction
             will be split 50150 with
             Kelly Morrison
             Allison**
                                             5bps    Paul Pritchard   18 mos      8/25/2020
 2/25/2019    Michele SheltonThlS
              recruitinq deduction
              will be split 50/50 with
              Kelly Morrison
              Allison




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    Schedule 6— Recrthting Allocation Form
    Revised 1/112017




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   Gina Spearman
   Schedule 6

2125/2019    Kim Harley **Thls              5bps   Paul Pritchard   18 mos     8/25/2020
            recruiting deduction
            will be split 50/50 with
            Kelly Morrison
            Allison
3/11/2019   Justin LuskThis                 5bps   Paul Pritchard   18 mos     9/11/2020
            recruiting deduction
            will be split 50/50 with
            Kelly Morrison
            Alli s on***
4/1/2019    Christine                       5bps   Paul Pritchard   18 mos     10/1/2020
            O'8rienThis
            recruiting deduction
            will be split 50/50 with
            Kelly Morrison
            Allison`
3/25/2019   Michael                         5bps   Paul Pritchard   18 mos     9/25/2020
            McKi nze ***Thi s
            recruiting deduction
            will be split 50/60 with
            Kelly Morrison
            Allison
4/8/2019    Kyshona                         5bps   Paul Pritchard   IS mos      10/8/2020
            GreshamThis
            recruiting deduction
            will be split 60/50 with
            Kelly Morrison
            Alli son ***
4/8/2019    Austin Hoffer*This              5bps   Paul Pritchard   18 mos      10/8/2020
            recruiting deduction
            will be split 50/50 with
            Kelly Morrison
            Allison*

4/22/2019   Amber                           5bps   Paul Pritchard   18 mos     10/22/2020
            Armstr o ngn*This
              recruiting deduction
             will be split 80/50 with
              Kelly Morrison
              Allisofl
4/29/2019   - Raul He rre ra*This           5bps   Paul Pritchard   18 rims    10/29/2020
             recruiting deduction
             will be split 50/50 with
             Kelly Morrison
             Alli son *




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   Schedule 6— Recruiting Allocation Form
   Revised 111/2017



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*newamerioan
Gina Spearman
Schedule 6




IN WITNESS. WHER EOF, the, undersigned have executed this Recruiting Deduction Form
Schedule as of the date shown below
                 vz
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                                gai-
                                   .wm'
                                Kay 1 20 I.0J
                                                                 May I, 2019
                Employee         -   Signature                 Date


                gina sp:earrnan
                Employee         -   Print Name




                Jan Presto, EVP Retail Division                Date



                Christy Bunce, COO                             Date




                                                9mnactIt,




                                gina spearman
                                Esigned 2O19-O5O1O&33P.M'EDF
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Schedule S Recrufting PJ!ocallQn Form
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Revised 1/1/2017




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                                              SCHEDULE 7
                             OVERRIDES TO AUTHORIZED PERSONNEL


  Regional Manager Name:            Gina Spearman

  Region Location:          Southeast Division

  GFE/LE Application Effective Date:             April 22, 2019

  Purpose     -   This document is to be used in connection with the Schedule 1                    -   Regional Manager
  Agreement where New American Funding allows certain Authorized Personnel to receive an
  Override.

  The below referenced are Authorized Personnel as indicated in section 1.4.0 of Schedule 1                                   -




  Regional Manager Agreement. The details of the overrides to Authorized Personal are
  described in the payment details section below:

   Effective         Authorized Person    Payment Details
   Date
   TBD               Branch Managers     Kelly and Gina Have requested to allocate 15BPS Branch
                                         Manager Override to any Branch Managers in the Region. 10
                                         BPS on Jumbo Production and House Accounts. Kelly and
                                         Gina will be responsible for notifying the accounting
                                         department the amount to be paid.
   06/01/2017        David White         Kelly and Gina have requested to allocate 1BPS total on the
                                         funded production of the Southeast Division to David. Bonus
                                         will exclude Builder Loans, Broker and Tier4 —Tier 7 loans.
                                         Kelly and Gina will be responsible for notifying the accounting
                                         department of the amount to be paid each month. This bonus
                                         will be reduced from Kelly and Gina's guarantee unless they
                                          out earn their monthly quarantee.
   4/1/2019          Oscar Reto           Kelly and Gina have requested to allocate 15 BPS Branch
                                          Manager Override to Oscar on his direct reports. Kelly and
                                          Gina will be responsible for notifying the accounting
                                          deoartment of the amount to be paid each month.
   41112019          Luis Caicedo         Kelly and Gina have requested to allocate 15 BPS Branch
                                          Manager Override to Luis on his direct reports. Kelly and Gina
                                          will be responsible for notifying the accounting department of
                                          the amount to be paid each month.
   3/1/2018          Carisa Henderson     Kelly and Gina have requested to allocate 2 BPS on the funded
                                          Builder Production of the Southeast region to Carisa
                                          Henderson. Kelly and Gina will be responsible for notifying the
                                          accounting department of the amount to be paid each month.
   4/3012018         Jennifer Toomey      Kelly and Gina have agreed cover any shortfall of Jennifer
                                          Toomeys $8,000 monthly gurantee for months 4 to month 6of
                                          her gurantee period. Kelly and Gina's will notify accounting if
                                          their monthly overrides will be reduced by any amount that
                                          Jennifer does not cover in commissions for these months.


                                                                                                               Page    of 2



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  RevIsed 9/30/15




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Gino Spearmun
Wednesday, May 16, 2018
Schedule 7— Branch Manager
Page 2of 3


 5/21/2018       Jason Redman           Kelly and Gina have requested to allocate
                                            • 4BPS Regional Manager Override on funded
                                                production from current North Carolina, South Carolina,
                                                and Georgia branches;
                                            • 5BPS Regional Manager Override on new hires Jason
                                                brings to North Carolina, South Carolina, and Georgia;
                                                and
                                           •     10 BPS Branch Manager Overrided on the funded
                                                production of the Augusta, GA branch
 5/21/2018       Brandon Colberg        Kelly and Gina have requested to allocate 10 BPS Branch
                                        Manager Override to Brandon on the funded production of the
                                        Augusta, GA branch
 5/29/2018       Patricia Jones         Kelly and Gina have requested to allocate IBP bonus to
                                        Patricia. She will be paid on her area of production which is
                                        redman team and branches to be named within 30 days.
 8/13/2018       Branch Managers        Kelly and Gina Have requested to allocate 20 BPS Branch
                                        Manager Override on the Memphis, TN and Southhaven, MS
                                        branches. Kelly and Gina will be responsible for notifying the
                                        accounting department the amount to be paid.
 8/20/2018       Eric Fellows and       Kelly and Gina Have requested to allocate 15 BPS Branch
                 Michele Hoefle         Manager Override and 25 BPS Area Manager Override to
                                        Michele and Eric, who will split the Overrides. Kelly and Gina
                                        will be responsible for notifying the accounting department the
                                        amount to be paid.
 11/26/2018      Daniel Caro            Kelly and Gina Have requested to allocate 15 BPS Branch
                                        Manager Override and 15 Bps Area Manager Override to
                                        Daniel Caro. Kelly and Gina will be responsible for notifying the
                                        accounting department the amount to be paid.
 12/10/2018      Eric Glick             Kelly and Gina have agreed to pay Eric a$40,000 signing
                                        bonus. Kelly and Gina's monthly bonus will be deducted as
                                        follows: $13,333 on February 10, 2019, $13,333 on March 10,
                                        2019 and $13,334 on April 10, 2019.

                                        Kelly and Gina have requested to allocate up to $50,000 to Eric
                                        Glick annually for payment of his tax liability on his Principle
                                        Nation Life Insurance plan. Kelly and Gina will be responsible
                                        for payment within 30 days of receiving the official tax liability
                                        bill. This amount will be deducted upon receipt of the initial
                                        chosen plan along with each year thereafter.
 12110/2018      Sara Arcanti           Kelly and Gina have agreed to allocate Sara a $3,000 monthly
                                        bonus. This bonus will be automatically deducted from Kelly
                                        and Ginas monthly overrides,
 12/10/2018      Nikki Perry            Kelly and Gina have agreed to allocate Nikki a$4,000
                                        guarantee for the first 3months of employment. NAF will pay
                                        Nikki minimum wage then Kelly and Gina will split the
                                        difference each month to total the $4,000 guarantee.
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Schedule 7-Regional Manager Agreement
Revised 9/30/15




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Gina Spearman
Wednesday, May 16, 2018
Schedule 7—Branch Manager
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 4/22/2019            Amber Armstrong                     Kelly and Gina Have requested to allocate 10 BPS Branch
                                                          Manager Override on the Walton Beach, FL branche. Kelly and
                                                          Gina will be responsible for notifying the accounting
                                                          department the amount to be paid.



This Schedule 7 Overrides to Authorized Personnel shall remain in effect unless it is both
                         -



revoked in writing by the Branch Manager and it is provided to any and all affected Authorized
Personnel prier the first day of the calendar month the change will go into effect. Any such
modifications including but not limited to additions or subtractions from the list of Authorized
Personnel and/or changes to the terms of the payments will not take effect until the following
calendar month. Such changes must be submitted prior to 5:00 p.m. PST on the last business
day of the calendar month prior to the effective date.

IN WITNESS WHEREOF, the undersigned have executed this Overrides to Authorized Personnel
Schedule as of the date shown below:

                                            4cpr242h1oi
                                                                                  Apr 24, 2019
                       Employee               —   Signature                       Date


                       gina spearman
                       Employee               —   Print Name




                       Human Resources Management                                 Date




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             Case 1:20-cv-04981-CAP Document 111-6 Filed 05/02/22 Page 22 of 51




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 Friday, November 04, 2016                         gin355p1mm3c0m



 Gina Spearman
 5450 Claire Rose Lane                                                  Mob, Sign rrans,otlon Number. cSJcHeCM6MmnkSxbNE4NB,n,B5gFUzKsE6OBJM\'iU


 Atlanta, GA 30327
                                                                 Sent via email: ginasc?llspearmania.com
 RE: OFFER OF EMPLOYMENT

 Dear Gina:

 Broker Solutions, Inc. dba New American Funding is pleased to offer you aposition as afull time Regional
 Manager, in our OLA division, reporting to Jon Reed. We trust that your knowledge, skills and experience will be
 among our most valuable assets. Should you accept this offer of employment; per company policy you will be
 eligible to receive the following beginning on your scheduled first day of employment.

Your position with New American Funding will be confirmed by the Human Resources Department upon aSigned
Accepted Offer of Employment, completed application for employment, clearance of abackground check, and
income and reference verifications as well as satisfactory completion of all new hire paperwork. This offer is based
upon the following terms and conditions:

 Your proposed start date: Tuesday, November 1, 2016.

1.     At Will Employment: Al] employees are hired for an unspecified duration of time and our employment
       relationship is not for any specified length. Employment is at the mutual consent of the employee and the
       company. Accordingly, your employment will be 'at will'. This means that you may end your employment
       with the Company at any time. It also means that the Company may end your employment at any time, with
       or without cause or prior notice. The company may change the terms and conditions of your employment,
       including your position, duties, compensation, benefits, location and/or work schedule. Your status as an 'at
       will' employee cannot be changed except through awritten agreement signed by the CEO, (presently Rick
       Arvielo) or COO (presently Christy Bunce).

2.     Compensation: While you are employed with NAF, as an exempt outside sales employee you are eligible
       to receive the following:

        1.        Salary Compensation: Manager will be paid salary of $1,760.00 bi-weekly to be netted against all
        earnings.

        2.    Guarantee: A guarantee of $70,000 (the "Guarantee Amount") for the first twelve (12) months of
        employment (the "Guararitee Period"). Guarantee will be payable as follows:

             $35,000 payable      on November 18, 2016                          $35,000 payable on April 7, 2017
             $23,333 payable      on December 7, 2016                           $35,000 payable on April 21, 2017
             $23,333 payable      on December 16,2016                           $35,000 payable on May 5, 2017
             $23,334 payable      on December 30, 2016                          $35,000 payable on May 19, 2017
             $35,000 payable      on January 13, 2017                           $23,333 payable on June 2, 2017
             $35,000 payable      on January 27, 2017                           $23,333 payable on June 16, 2017
             $35,000 payable      on February 10, 2017                          $23,334 payable on June 30, 2017
             $35,000 payable      on February 24, 2017                          $35,000 payable on July 14, 2017
             $35,000 payable      on March 10, 2017                             $35,000 payable on July 28, 2017
             $35,000 payable      on March 24, 2017                             $35,000 payable on August 11, 2017
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                                              E-signed 2016-11-06 11:53AM EST
                                              ginas@spearmania.com

Gina Spearman
Friday, November 04,   2016
                                                                             Agobe Sly,, TranoocRlon Number. c9JCHecAAaAtrnnkSxbNE4Nirfl95iFUZKSE60e.Nv'Oa
Page 2of8



         $35,000 payable on August 25, 2017                                       $35,000 payable on October 6, 2017
         $35,000 payable on September 8, 2017                                     $35,000 payable on October 20, 2017
         $35,000 payable on September 22, 2017                                    $35,000 payable on November 3, 2017

         All salary, hourly earnings, any bonuses, commissions and overrides paid during amonth in the
         Guarantee Period will be subtracted from the Guarantee Amount for that month (i.e., the actual
         guarantee paid will be any shortfall between earnings and the income). The employee will be paid the
         managers actual salary, any bonus due, commissions and overrides when the earnings exceed the
         monthly guarantee. Any unpaid guarantee amount will not carry forward to the next month.

         Additional Bonus: Gina is being offered aone-time additional bonus offer to cover verifiable COBRA
         expenses. Gina will need to submit proof of payment for COBRA expenses to Katie Traviglia in
         Human Resources to be eligible to receive this bonus to reimburse on December 10, 2016.

         You must remain actively employed with New American Funding during the entire period you are
         eligible to receive the guarantee in order to be eligible to receive the guarantee. If you terminate your
         employment with New American Funding during the Guarantee Period, you will not be eligible to
         receive future guaranteed payments, but will receive only your earnings for the pay periods actually
         worked after you terminate. The guarantee is not considered asalary, but is subject to all statutory
         withholdings.

         At the conclusion of your Guarantee Period, you will revert to New American Funding's standard Loan
         Consultant compensation plan. If for any reason your employment relationship should be terminated,
        New American Funding will prorate any portion of your guarantee that would be eligible to be paid
        through your last day of employment.

         Guarantees may be rescinded or lowered if any stipulations, production requirements or expectations
         are not met, as determined by management. You will be given advanced notice of any such change and
         the Guarantee Amount will be prorated and the change would only apply prospectively.

         Amendment to Article 10 1 Gina iib&noffered an amendment to Aiticl 10.1 of the Regional
         Manag'r Agreement Article 10 1of the agreement outlines in the event of separation for any reason,
         Manager shall be compensated up t9 30 days after separation less all recoverable advances and Can-y-
         Forwards New American Funiling ,is offering Gina Spearman 120 days days after separation less all
         recoverable advances and Carry-Forwards _
                                                 a'


         3.     Manager Agreements: Gina is eligible to receive aRegional Manager Override. (Outlined in
         Schedule 1 Regional Manager Agreement)
                       -




         Kelly and Gina are eligible to receive compensation differential of up to 140 bps maximum
         compensation on all self-generated loans and house accounts as well as 75 bps maximum compensation
         on brokered loans compensation on all their direct reports. Kelly and Gina will split the compensation
         differential with 70% to Kelly and 30% to Gina. Kelly Morrison will be responsible for notifying
         accounting of the 70/30 split each pay period.
Employee Initials                            EmpIoee's Initial indicates that this page has been read and Is understood in its entirety.
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        Case 1:20-cv-04981-CAP Document 111-6 Filed 05/02/22 Page 24 of 51




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                                                    Giha W Sp?rfi&h(GWS
                                                    E-signed 2016-11-OS 11:5AM EST
                                                    ginasspearmania.com

Gina Spearman
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Friday, November 04, 2016
Page 3of8


         4.-     Non-Solicit Agreement: New American Funding's Non-Solicit Agreement, included in Section
         3of the Non-Disclosure Agreement Covenant Not to Compete Policy, will not be in effect with the
         initial team of individuals that are on boarded with Kelly Morrison and Gina Spearman during the
         transition to New American Funding. The list of individuals will be developed and agreed upon by
         NAF. Kelly and     Gina   within the first 30 days of hire.

         5.     Stipulations and Minimum Production Requirements:

         Loan Consultant is expected to meet the minimum monthly production requirements as outlined in the
         Loan Consultant agreement. During the initial period of employment, Loan consultant is expected to
         meet the monthly origination and funding requirements shown below:

         Monthly Funded Volume Requirements:

        Month 5     Kelly and Gina's division is expected to fund aminimum of $50,000,000 per month by
                    the 5th month of employment.

         6.     Production: Each Loan Consultant is expected to fund aminimum of two (2) loans per month or
         six (6) loans per quarter. New American Funding expects that you will turn in complete files and follow
         all company Rules and Compliance regulations,

         New American Funding Licensing Guidelines:
                     Step 1          -
                                          Complete Pre Licensing Education
                     Step 2               Pass State SAFE Test and Pass National SAFE Test
                     Step 3               Complete any Remaining Licensing Requirements
                     Step 4               Receive MLO License from State Agency


         Only afully licensed Loan Consultant may perform the following actions:
                •      Take aloan application by phone, face-to-face interview or any other means
                •      Discuss or negotiate with acustomer the terms or conditions of aJoan
                •      Quote rates to acustomer
                •      Lock aloan
                •      Access New American Funding loan origination software
                •      Advertise or market yourself as alicensed mortgage loan originator
                •      Engage in any type of loan origination activities as defined by New American Funding or
                       any State or Federal regulatory agency

   4.   Benefits: After 30 days, Gina and all employees (excluding part time) she brings to American Funding
        will receive all standard New American Funding benefits as described in the New American Funding
        Employee Handbook, including following: Health, dental, vision and participation in the company's
        401K. The information detailing the medical, dental and vision and all other health benefit programs

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                                                Gina w Spearman (GWS)
                                                E-signed 2016-11-06 11:5AM EST
                                                ginas@spearmania.com

Gina Spearman
Friday, November 04, 2016
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           offered by New American Funding will be provided in aseparate document. Please note that any
           questions you have pertaining to the health benefits options available or the Worker Compensation plans
           at New American Funding should be directed to the NAT Benefits department.

      Please note that any questions you have pertaining to the health benefits options available or the Worker
Compensation plans at New American Funding should be directed to the NAP Benefits department.

        You may reach the benefits department by emailing nafbenefits@nafm.c.com Please note that all benefit
applications will be submitted online via the ADP portal and are due no later than the     of the month in order
                                                                                                              10th


to be processed. Failing to submit your application in time may result in adelay in processing or adenial by the
carrier.

         To the extent that you have entered into any agreements with prior employers that contain provisions to
which you remain legally bound, you will agree to abide by all such obligations, and provide the Company with
acopy of any such provisions to the extent permitted by your prior Company. This includes, but is not
necessarily limited to, any confidentiality and proprietary information provisions. The Company strictly
prohibits violation of statutory trade secret laws and lawful contractual obligations. You represent that you have
no agreements with or obligations to others that may be in conflict with your employment obligations in this
offer letter. If you have any agreements or obligations that are in conflict with your employment please notify
Human Resources Department.

       NAP Expectation Regarding Non-Solicitation of Employees or Customers of Current Employer (defined
as any employer employing you during you application and transition to NAP and prior to beginning
employment at NAP).

        You understand that New American Funding maintains and expects strict compliance with its Non-
Solicitation of Employees and Customers of you Current Employer during your transition to New American
Funding. Your offer of employment is contingent upon your willingness to abide by the following rules in
fransitioning from your current employer to New American Funding:

           1)     Do not solicit any current employees of your employer. Once you give notice regarding your
                  departure, you can disclose your departure to other employee but you are prohibited from
                  soliciting or referring employees to consider employment at New American Funding.
           2)     Do not solicit consumers/customers of your employer. Consumers/customers belonging to your
                  employer refers to any consumer who has submitted awritten loan inquiry or aresidential
                  mortgage loan application to your employer.
           3)     Do not submit aloan inquiry, loan applications or any related borrower information to NAP prior
                  to your employment start date at New American Funding.
           4)     Do not download, copy or otherwise take customer lists or customer information belonging to
                  your Current Employer off the premise of your employer (no email, outlook contact lists, etc. can
                  be taken off premises).
           5)     If employees of your Current Employer have questions about employment opportunities at NAF,
                  refer them to New American Funding Job website (reference info above) or to send an email to
                  recruiters(Wnafinc.com.

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    oyee Initials                             Employees Initial indicates that this page has been read and is understood in its entirety.




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        Employees, regardless of position are not entitled or authorized to enter into any contracts or agreements
written or verbal on behalf of Broker Solutions Inc., DBA New American Funding for any kind of product or
service under any exception. All branch, and or corporate services are to be signed off by Rick Arvielo, Patty
Arvielo and Christy Dunce. Failing to adhere to this policy will result in disciplinary action up to and including
termination.

        Please note that all offers of employment are conditioned upon the following: (a) satisfactory completion
of reference and/or background checks (which may include acriminal background check); (b) completion of an
1-9 form, which requires submission of valid, original documents that confirm your identity and authorization to
work in the United States (a complete list of acceptable documents is available from Human Resources and
includes but not limited to acurrent driver license and social security card or passport) within the first three
days of employment, please note that failure to submit appropriate and required documentation within the
established guidelines will result in your immediate termination; and (c) your written agreement to abide by the
Company's policies and procedures as outlined in the Employee Handbook and other personnel documents that
you will receive at the beginning of, and throughout, your employment with the Company.

        You also agree to maintain in confidence any confidential information, trade secrets, or proprietary data
which you learn or have access to during the course of employment (hereinafter referred to as 'Confidential
Information'). This includes but is not limited to employee information, inventions, innovations, processes,
research, reports, market studies and plans, customer and/or supplier information or any other confidential
technical or business information. During your course of employment, or unless authorized by New American
Funding, you will not use, sell, publish, make copies of, or disclose such Confidential Information to any other
person or company. Upon termination of your employment, you shall deliver to New American Funding all
written, electronic, and other company materials which are within your custody or control.

        This letter contains the entire agreement with respect to your employment. It supersedes any and all
other representations or statements that may have been made, either verbally or in writing, with respect to the
terms and conditions begin offered by the Company. When signed by you, this offer letter will be considered a
written agreement with respect to the subject matter contained in this letter. By your signature below, you
acknowledge and agree that no other offers, representations, inducements or promises have been made by the
Company that are not included in this letter, and that you understand that no other offer, representations,
inducements or promises not included in this letter are valid or binding. The material terms of your
employment as set out in this letter may not be modified or amended by verbal agreement or course of conduct,
but only by awritten agreement presented by Human Resources, COO (presently Christy Bunce) or CEO
(presently Rick Arvielo)




Employee Initials                           Emp l
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Gina Spearman
Friday, November 04, 2016
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To accept this offer:

    1.   Sign and date this offer of employment letter where indicated below. (All offers are conditionah based
         on successful completion of background check.)
    2. Email or fax the signed offer with required HR forms included in this email to:
         katie,traviglianafinc.eom or Fax: (949) 825-8245.

To decline this offer:
    1. Email or fax your response to katie.traviglianafinc.com or Fax: (949) 825-8245.



On behalf of the entire team at New American Funding, we would like to congratulate you on this opportunity.
We at NAP hope that you'll accept this offer of employment and look forward to welcoming you aboard. If you
have any questions, please feel free to contact me.

Sincerely,

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Katie Traviglia
Human Resources Director




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Gina Spearman

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In order to have your license sponsored and become an active employee with NAP, you must email our
licensing department at licensing(nafinc.com. This email is to be sent on your first day of employment and
must state that you have resigned from your previous employment and you want NAP to submit our
sponsorship request for your license(s). This email must also include your NMLS number, and accurate NTvlLS
log in information. You must be sponsored by NAP to be employed. Please note, asponsorship request will not
be submitted until you email our licensing department.

This offer of employment is valid, executable, and must be received by the Human Resources Department
within five (5) calendar days from the date of this offer letter. After five (5) calendar days from the date of this
offer letter, this offer becomes null and void.

Iacknowledge that this offer of employment supersedes all prior written or verbal communication concerning
any of the terms of hire for the position and Iacknowledge that there are no verbal understandings whatsoever
that differ from this offer.



Acceptance of Offer of Employment:
By signing and dating this letter below, 1accept the offer of employment from New American Funding.

                                                                                                      Date:      Nov 6, 2016
Signature:
                ins W Speenmtnr (Its   c/   015)




Decline Offer of Employment:
By signing and dating below, Idecline the offer of employment from New American Funding.

Signature:                                                                                            Date:




Acknowledged:

Dated:       Uffoj La                              By:                              Re4Titl e:




                                              Gina W Spearman (GWS)
                                              E-signed 2016-11-06 11:53AM EST
                                              ginas@spearmania.com




Employee Initials


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Gina Spearman
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                             TRANSITIONAL LOAN PROCESS AGREEMENT

As an unlicensed agent, pending state approval, you agree that you will not engage in any unlicensed activity.
This includ esnot taking loan applications and not discussing and/or negotiating rates, terms, loan programs, or
any other items that would be considered licensed activity.

As an unlicensed LO, you agree to refer your clients to an approved transitional loan agent. Once received by
the Transitional LO, you agree to allow the Transitional LO to handle ALL aspects of loan origination,
processing and funding. You further understand that the Transitional LO will complete the loan transaction
regardless of whether your license becomes approved prior to funding of the loan.

It is further acknowledged and agreed that aviolation of this policy may lead to disciplinary action up to and
including termination.

Agreed to this 6th       day of   November   2016.



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                                                              ignature

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                              REGIONAL MANAGER AGREEMENT

           This Regional Manager Agreement ("Agreement") is entered into at [City of NAF Branch
Office:]     5th                  ,[State]: November      by and between Broker Solutions Inc.
dba                 New        American           Funding           ("Company")             and
              Gina WSpearman                                       ('Manager"        or   "Loan
Originator")- Company and Manager are also referred to herein individually as "Party" and
collectively as "the Parties."

                                              Recitals

        A.      Company is engaged in the business of originating residential mortgage loans
(also referred to herein as consumer credit transactions secured by dwellings) for its borrowers
pursuant to a California Residential Mortgage Lending Act license issued by the California
Department of Business Oversight ("DBO"), and/or under the authority of applicable state law.

       B.      Company desires to employ Manager on an at-will basis to act as a Regional
Manager for the primary purpose of performing the executive duties of Manager's assigned
Branch, including managing Branch employees.

      C.    Manager may also be permitted to originate residential mortgage loans for
Company's borrowers. Manager represents that he/she is duly licensed and/or endorsed to
perform the activities described herein, and desires to act as Company's salesperson for the
purpose of originating residential mortgage loans for Company's borrowers pursuant to the terms
and conditions set forth herein.

      In consideration of the mutual covenants, promises and conditions set forth below,
Company and Manager agree as follows:



                                   Article 1. Nature of Employment

         1.1    At-Will. All employment by Company, including the employment of Manager, is on
an at-will basis. Among other things, this means that Manager and Company both have the right
to terminate Manager's employment at any time, with or without advance notice, and with or
without cause. All employees, including Manager, may be demoted or disciplined and the terms of
their employment may be altered at anytime, with or without cause, at the discretion of Company.
Any positive comments or evaluations by Company as to Manager's performance, whether oral or
written, shall in no way contradict the Parties' intent that Manager's employment and this
Agreement are terminable at-will, nor shall any such comments or evaluations alter the at-will
nature of Manager's employment with Company. No one other than the President or COO of
Company has the authority to alter this arrangement, to enter into an agreement for employment
for a specified period of time, or to make any agreement contrary to Company's policy of at-will
employment. Any such agreement must be in writing, must be signed by the President or COO of
Company and by Manager, and must express aclear and unambiguous intent to alter the at-will
nature of Manager's employment relationship.




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                              Article 2. Executive Nature of Work

       2.1     Executive Duties. Manager's primary responsibility Is management of the branch.
Manager acknowledges that he/she is expected to spend over fifty percent (50%) of his/her time
engaged managing branch employees and directing business of the branch. Managerwill always
supervise two or more full time employees, who jointly work an aggregate of no less than 80 hours
per week. Manager understands and agrees that these duties are matters of significance to
Company and that Company relies on Manager's discretion and judgment in exercising these
duties.

         2.2    Sales and Production Activities. Company does not require Manager to engage in
sales and production activities. Manager is strictly prohibited from spending more than fifty
percent (50%) of his/her time engaged in sales and/or production activities and/or any other
activity which is performed by any loan officer or hourly employee (collectively "Other Duties").



                             Article 3. Duties of Regional Manager

        3.1    Generally.   Manager may originate residential mortgage loans on behalf of
Company's borrowers and perform such related duties as are customary in the mortgage loan
origination business or as may be required by Company from time to time. Manager agrees that
he/she shalt use his/her best efforts to originate such loans in accordance with the policies,
procedures and specifications of Company.

        3.2   License/Ml-0 Endorsement. Manager warrants at all times during the term of
his/her employment to hold, in good standing, such license(s), if any, as may be required by the
state(s) in which Manager provides services under this Agreement, as well as a mortgage loan
originator endorsement, or equivalent if required by the state(s) in which Manager provides
services under this Agreement. Manager agrees to maintain any such required license(s) and/or
endorsement(s) in good standing at all times during the term of his/her employment, and agrees
to immediately inform Company of any change in his/her licensed or endorsed status. Company
agrees to reimburse Manager for such required licensing fees. Manager agrees to maintain a
minimum number of state licenses necessary for the origination of residential mortgage loans, as
required by Company from time to time. Manager's failure to maintain such license(s) and/or
endorsement(s) in good standing while employed by Company, or his/her failure to immediately
advise Company of a change in his/her licensed or endorsed status, shall be cause for
termination of Manager's employment.

       3.4     Compliance with Law. Manager agrees during the term of this Agreement to
remain apprised of and to comply with all applicable Federal Housing Administration ("FHA"),
United States Veteran's Administration ("VA"), United States Department of Housing and Urban
Development ("HUD"), Federal National Mortgage Association ("FNMA"), Government National
Mortgage Association ("GNMA"), Federal Home Loan Mortgage Corporation ("FHLMC"),
Appraiser Independence Requirements of FNMA and FHLMC, Federal Trade Commission
('FTC") and Nationwide Mortgage Licensing System and Registry ('NMLS°) rules, regulations
and instructions, including HUD Handbooks and Mortgagee Letters, pertaining to residential
mortgage loan origination in effect from time to time, and to keep informed of, and to comply with,
all federal, state and local laws, regulations, and/or ordinances governing the conduct of
Company's business, including, but not limited to the California Residential Mortgage Lender


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Law, and its implementing regulations, the California Real Estate Law, Business and Professions
Code section 10000, at seq. and the Regulations of the California Department of Business
Oversight (the Real Estate Law"), the applicable laws of each state in which Regional Manager is
licensed or conducts business, as well as applicable provisions of the Real Estate Settlement
Procedures Act ("RESPA") and Regulation X, the Truth in Lending Act ("TILA") and Regulation Z,
the Equal Credit Opportunity Act ("ECOA") and Regulation B, all applicable fair lending laws and
regulations, and the Home Mortgage Disclosure Act ("HMDA") and Regulation C. Manager
further agrees to comply with "Schedule 2 Zero Tolerance With Loan Fraud Activities."
                                            -




        3.5      Best Efforts. Manager agrees to comply with and shall at all times faithfully and
industriously perform all services, acts and other things necessary to perform his/her obligations
under this Agreement, using his/her best efforts consistent with good industry practices, the
long-term best interests and reputation of Company and the policies and procedures set by the
management of Company.

       3.6     Company's Forms and Instructions. Manager agrees to utilize all forms supplied
by Company which Company determines, in its sole discretion, are necessary for the provision of
the services to be performed by Manager under this Agreement. Manager further agrees to
provide the services described herein in accordance with any manual and/or other training
materials provided by Company and in accordance with any Company advertising or promotional
material then in effect.

       3.7     Markups. Manager acknowledges and agrees that he/she will not add asurcharge

or mark-up to the cost of any third party settlement service when performing services under this
Agreement.

      3.8    Company's Name. All loans originated by Manager, and all activities performed by
Manager under this Agreement, shall be completed in the name of Company, or such other name
as Company may require from time to time.

       3•9    Payments.    All loan fees, commissions, and/or other income generated in
connection with Manager's loan origination activity shall be made payable to Company.

      3.10   Documents. Manager acknowledges that all documents received or prepared by
Manager pertaining to the business of Company are, and shall remain, the sole property of
Company.

        3.11     Third Party Fees.   Manager agrees to review the HUD-1 prior to the close of
escrow on all loans he/she originates to confirm that payment of all third party fees including,
without limitation, payment for any appraisal performed in connection with the loan, will be made
through escrow.

       3.12   Gratuities and Gifts. Manager shall not accept any gratuity, gift or tip from a
borrower or client unless such gratuity, gift or tip is legally permissible, fully disclosed, and
Manager has received the prior written consent of the President or COO of Company.

       3.13   Assistants. Manager shall not hire, employ, compensate or utilize any licensed or
unlicensed assistant unless approved by authorized representative of Company in writing.



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        3.14    Exclusivity. Manager agrees that during his/her employment with Company
he/she will not render services for any third party or for Manager's own account that conflict with
his/her duties to Company. Manager acknowledges and agrees that he/she will execute the
Company's "Non-Disclosure Agreement Covenant Not to Compete." Manager acknowledges this
is a material term of his/her employment and breach of any part of this paragraph may result in
termination.

        3.15    Fiduciary Duties.  Manager acknowledges that Company and Manager owe
fiduciary duties to Company's borrowers. Any violation of afiduciary duty constitutes aviolation of
the Real Estate Law and can subject Company and/or Manager to license discipline up to and
including license revocation. Manager shall not make any representation, or perform any act,
during the term of his/her employment with Company which would constitute a breach of a
fiduciary duty owed to a borrower including, without limitation, placing his/her economic interest
ahead of the economic interest of aborrower.

        3.16      Reviews.      Manager shall be subject to ongoing reviews by Company of his/her
performance and of the work he/she performs.

        3.17   Prohibited Acts. Manager agrees that he/she will not engage in or perform any of
the following acts or conduct, the violation of any one of which shall be grounds for disciplinary
action, up to and including immediate termination:

        a.        requiring aborrower to purchase any other thing in connection with the origination
of a mortgage loan;

        b.        charging a borrower an appraisal fee which exceeds the actual cost of the
appraisal;

        C.        originating   any mortgage loan in the amount of $30,000 or less, without
Company's prior consent;

        d.        taking any instrument in which blanks are left to be filled in after execution of the
instrument

        e.        failing to cooperate fully with    Company, the DBO or HUD,            or any other
governmental agency, in connection with any investigation or audit;

        f,        when originating amortgage loan, failing to take into consideration the borrower's
ability to repay the loan;

         g.     in connection with an FHA insured loan, agreeing to pay, or arranging to pay, any
compensation in connection with the origination of amortgage loan which is in violation of section
2-13(B) of HUD Handbook 4060.1 REV-2 which prohibits the outsourcing of administrative or
clerical functions (including, without limitation, clerical assistance, loan processing, loan servicing,
legal functions or quality control reviews) to a third party loan originator, real estate broker or
similar entity.

        h.        originating a High-Rate Mortgage Loan, as that term is defined in the Truth in
Lending Act (Section 32), without the prior written consent of Company.

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       i.      originating a Consumer Loan, as that term is defined in California Financial Code
Section 4970 et seq., (Cal 32), without the prior written consent of Company.

       j.      failing to comply with Company's anti-steering procedures, as implemented
pursuant to the terms of Reg. Z, and as may be in effect from time to time.

       Ic      any other act prohibited by law, company policy, or practice.



                                    Article 4. Duties   of   Company

        4.1     Company shall at all times during the term of this Agreement remain responsible
for the supervision and control of Manager while he/she is performing loan origination anti/or
licensed activity on behalf of Company to the extent required by the Real Estate Law or applicable
federal and/or state law. Such responsibility shall include the establishment of policies, rules,
procedures and systems to review, oversee, inspect and manage all aspects of mortgage loan
origination activity to ensure compliance with applicable federal and state law. Company shall
establish a system for monitoring compliance with such policies, rules, procedures and systems.



                                      Article 5. Compensation

       5.1     Salar'. Manager will be paid salary of $1,760 bi-weekly.

       5.2     Commissions/Override Bonus Manager will be eligible for Commissions and/or a
monthly bonus payment based on Branch Overrides ("Override Bonus") as set forth on Schedule
t the Regional Manager Agreement and/or the Outside Loan Originator Agreement Exhibit A
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Commission Schedule. Schedule 1 t the Regional Manager Agreement and/or the Outside Loan
Originator Agreement Exhibit A Commission Schedule may be adjusted up or down or
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otherwise amended by Company from time to time, in its sole discretion.

Compensation received in accordance with the provisions of Schedule 1of the Regional Manager
Agreement and/or the Outside Loan Originator Agreement Exhibit A Commission Schedule
                                                                       -




hereto, and this Agreement, shall be paid to Manager through Company's regular payroll
practices. Manager's intentional violation of Company's compensation policies shall be cause for
discipline, up to and including immediate termination of Manager's employment.
In the event any term of this Agreement conflicts with either Schedule Ito the Regional Manager
Agreement or the Outside Loan Originator Agreement Exhibit A — Commission Schedule or any
addendums to either of these agreements, then the Schedule 1    t the Regional Manager
Agreement and/or the Outside Loan Originator Agreement Exhibit A Commission Schedule
                                                                       -




whichever is applicable, or the effective addendum to either of these agreements will control.

                             Article 6. Loan Originator's Benefits

        6.1     Manager shall be entitled to such benefits, if any, as Company may provide from
time to time to its other full time, or part time employees, as the case may be.




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                                       Article 7. Authority

        7.1    Manager acknowledges and agrees that he/she has no right or authority to bind
Company to any agreement, contract or undertaking without the prior written approval of
Company. Only approved Cooperate Officers are authorized to bind the Company to any
contracts. Manager further acknowledges and agrees that all documents received or prepared by
Manager pertaining to the business of Company are, and shall remain, the property of Company.
Manager shall have no authority to: (i) pledge the credit of Company or any of its employees; (ii)
release or discharge any debt owing to Company; or, (Ni) sell, mortgage, transfer, hypothecate or
otherwise dispose of any non-inventory assets of Company.



                             Article 8. Advertising and Telemarketing

        8.1     Advertisinq.    Manager shall not publish, or caused to be published, any
advertisement in any medium related to the services contemplated under this Agreement without
the prior, written consent of Company. Manager agrees that any advertising which is thereafter
circulated or distributed by Manager, or at the direction or instigation of Manager, shall comply
with all applicable federal, state and local advertising laws, and any regulations or ordinances
related thereto,

        82     Teiemarketinq. Manager shall not engage in any telemarketing related to the
services contemplated under this Agreement without the prior, written consent of Company.
Manager agrees that any telemarketing which is thereafter performed by Manager, or at the
direction or instigation of Manager, shall comply with all applicable federal, state and local
telemarketing laws, and any regulations or ordinances related thereto.



                    Article 9. Loan Originator's Duties Upon Termination

        9.1    Loan Files. Upon termination of Manager's employment for any reason, all loan
files, whether pending or closed, shall remain with, or promptly be returned to, Company.
Manager acknowledges and agrees that all such files are the sole and exclusive property of
Company.

      9.2    Computers/Equipment, Immediately upon the termination of Manager's
employment for any reason, any and all computer hardware and other equipment loaned to
Manager by Company shall be returned to Company.

       Article 10. Payment of Commissions and Override Bonus Upon Termination

       10.1   In the event of termination of employment for any reason including resignation,
Manager shall be compensated in the manner described above for loans he/she originates which
have funded up to 30 days after separation from Company less all recoverable advances and
Carry-Forwards. Such commissions will be paid as soon as possible and no later than the first
business day following funding.

       10.2    Override Bonus is earned on the last calendar day of the month. Manager must be
employed on the first and last day of month to be eligible for Override Bonus and no partial


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Override Bonus will be paid for a month in the event Manager's employment terminates prior to
the last day of the same month.


                                        Article 11. Indemnification

       11.1 NAF is retaining Manager as an employee of the Company, and is not acquiring or
otherwise accepting any liabilities, demands, claims or causes of action that relate in any way to
Manager's prior employment, business or enterprise. Should Company be named in any litigation
or should any claims be made against Company for any such liabilities, demands, claims or
causes of action that relate in any way to Manager's prior employment, business or enterprise,
Manager agrees to indemnify and hold Company harmless from any and all such matters.


                                   Article 12, Miscellaneous Provisions

    12.1     Effective Date. The Effective Date of this Agreement shall be the date on which it is
signed by both the Manager and the Managing Member of Company.

    12.2    lnteqration. This Agreement supersedes any and all other agreements, either oral or
in writing, between Company and Manager with respect to Manager's performance of loan
origination services on behalf of Company, and contains all the covenants and agreements
between the Parties with respect to such services in any manner whatsoever.

    12.3    Schedules to this Aqreement. This Agreement includes the attached Schedules listed
below:
         • Schedule I Regional Manager Compensation Details
                          -




         • Schedule 2— Zero Tolerance with Loan Fraud Activities
         • Schedule 3— Acknowledgment of Branch Manager Executive Requirements
         • Schedule 4—No Override During LO Guaranty Period
         • Schedule 5—Additional Manager Deductions
         • Schedule 6— Recruiting Deduction Form
         • Schedule 7— Overrides to Authorized Personnel
         • Schedule 8— Compensation Differential Schedule Team Loan Officer
         • Schedule 9— Direct Report Schedule

    12.4    Governinq Law. This Agreement shall be governed by and construed according to the
laws of the state where the employee resides at the time of any alleged breach, without regard to
its conflict of laws principles.

   12.5   Captions and Section Headinqs. Captions and section headings used herein are for
convenience only and are not part of this Agreement and shall not be used in construing it.

    12.6   Waiver. A waiver of any of the terms and conditions hereof shall not be construed as a
waiver of any other provision, nor shall any waiver constitute a continuing waiver or commit a
Party to providing awaiver in the future.

     12.7 Survival. The covenants, agreements, representations and warranties made herein
shall survive the termination of this Agreement, unless the context clearly provides otherwise.

                                                                                       Page 7of 13
Regional Manager Agreement
Revised 9/2/15




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     12.8   Severability. If acourt or arbitrator of competent jurisdiction finds any provision in this
Agreement to be invalid, illegal, or otherwise unenforceable, that determination will not affect any
other provision of this Agreement. The invalid provision will be severed from this Agreement and
all remaining provisions will continue to be enforceable by their terms and of full force and effect.

    12.9    Counterparts. This Agreement may be executed in counterparts, each of which shall
constitute an original, but all of which together shall constitute one and the same instrument. The
Parties agree that a signed copy of this Agreement transmitted by one Party to the other by
facsimile transmission shall be binding upon the sending Party to the same extent as a signed
original of this Agreement.

    12.10 Requlatory Compliance. Company and Manager recognize the importance of full
compliance at all times with all applicable state and federal laws, rules and regulations governing
mortgage loan origination. Accordingly, notwithstanding anything to the contrary contained
elsewhere herein, the Parties recognize and agree that Company retains the right to amend this
Agreement as necessary, in its reasonable discretion, to ensure full compliance with all state and
federal laws, rules and regulations. Any such amendment shall become apart of this Agreement
immediately upon Manager's receipt of notice of same.

      12.11       Siqnatures. The undersigned persons represent that they are authorized and have the
legal capacity to enter into this Agreement.



Regional Manager
                                                                 Gina W Spearman (GWS)
                                                                 E-signed 2016-11-06 11:53AM
Dated:          Nov 6, 2016                                      ginas©spearmania.tom
                                                                                                              EST




By:     4Z             i)5o
        1na   W Spaannnn   NovM2Ql6)



        Gina W Spearman
(Print Name of Regional Manager)



Company
                                                             Adobe   sgr Transaction Number,   cBJcHBCMeMmnkS,bNE4Nama5yFUrXsE6oeJv\MWPO

NEW AMERICAN FUNDING


Dated:



By:

Title




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Regional Manager Agreement
Revised 9/2/15




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                                            SCHEDULE I


                         REGIONAL MANAGER COMPENSATION DETAILS




 See attached Schedule I Regional Manager Compensation
                                        -



                         Details




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Schedule 1 Regional Manager Agreement
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Revised 9/2/15




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                                                SCHEDULE 2


                          ZERO TOLERANCE WITH LOAN FRAUD ACTIVITIES

    Company is responsible for the actions of those of its employees who are engaged in the
business of originating residential mortgage loans on behalf of its borrowers. Notwithstanding this
responsibility, however, Manager acknowledges and agrees that he/she bears responsibility for
the content and quality of each loan application taken and each loan originated by Manager.

THE SUBMISSION OF A LOAN APPLICATION CONTAINING FALSE INFORMATION IS A
CRIME!!!

Some Examples of Loan Fraud'                                                                      -




    1,     Submission of inaccurate information, including false statements on loan application(s)
           and/or falsification of documents purporting to substantiate credit, employment, deposit
           and asset information, personal information including identity, ownership/non-ownership
           of real property, etc.

    2.     Forgery of partially or predominantly accurate information.

    3.     Incorrect statements     regarding   current occupancy or intent to maintain        minimum
           continuing occupancy as stated in the security instrument.

    4.     Lack of due diligence by com pan y/M anager/lnterviewer/ProCessor,,includirlg failure to
           obtain all information required by the application and/or failure to request information as
           necessitated by borrower's response to other questions.

    5.     Unquestioned acceptance of information or documentation, which is known, should be
           known, or should be suspected to be inaccurate. For example:

            a. Simultaneous or consecutive processing of multiple owner-occupied loans from one
                applicant supplying different information on each application.

            b. Allowing an applicant or interested third party to assist with the processing of the loan.

    6.     Non-disclosure of relevant information.

    7.     Excessive fees or charges not disclosed.

Consequences

    The effects of loan fraud are costly to all parties involved. Fraudulent loans cannot be sold in
the secondary market and, if sold, may require that Company purchase those loans. Fraudulent
loans damage the reputation of Company with lenders, investors and mortgage insurance
providers, and expose Company to considerable risk of liability.



1 This   list 'snot exhaustive.
                                                                                             Page 10 of 13
Schedule 2- Regional Manager Agreement
Revised 9/2/15




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    The price paid by those who participate in loan fraud is even more costly. The following is a
list of afew of the potential consequences that may by incurred.

Examples of Potential Consequences to Loan Oriqinator and/or Company'

    1.   Criminal prosecution.

    2.   Loss of professional license.

    3.   Loss of lender access and/or investor relationships due to exchange of information
         between lenders and mortgage insurance companies including submission of information
         to investors (e.g., FHLMC and FNMA).

    4.   Civil action by applicant/borrower or other parties to the transaction.

    5.   Loss of approval status.

    5.   Employment termination.

Examples of Potential Consequences to Borrower s

    1.   Acceleration of debt. The FNMA/FHLMC Mortgage/Deed of Trust in effect at any given
         time, as well as the Mortgage/Deeds of Trust of other institutional investors, provide
         substantially as follows: "Borrower shall also be in default if borrower, during the loan
         application process, gave materially false or inaccurate information or statements to
         lender or failed to provide lender with any material information in connection with the loan
         evidenced by the note, including, but not limited to, representations concerning borrower's
         occupancy of the property as aprinciple residence."

               Note: A foreclosure action may not allow the borrower the benefit of
               reinstatement in order to cure the default      The borrower may be
               required to pay off the loan In full prior to the sale date of the real
               property security.

    2.   Criminal prosecution.

    3.   Civil action by Broker/Banker.

    4.   Civil action by other parties to the transaction, such as the seller or real estate agent.

    5.   Adverse effects on credit history.




 This list is not exhaustive.
 This list is not exhaustive.
                                                                                           Page 11 of 13
Schedule 2- Regional Manager Agreement
Revised 912/15




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IHAVE READ AND UNDERSTAND COMPANY'S POLICY REGARDING LOAN FRAUD, AS
SET FORTH ABOVE ON THIS SCHEDULE, AND AGREE NOT TO ENGAGE IN PROHIBITED
CONDUCT AT ANY TIME WHILE EMPLOYED BY COMPANY.       IUNDERSTAND THAT
VIOLATION OF THIS POLICY WILL RESULT IN DISCIPLINE UP TO AND INCLUDING
TERMINATION.

Date: Nov 6, 2016

Gina W      Spearman
                                                                                        016)
Manager— Printed Name




                     Gina W Spearman (GWS)
                     E-signed 2016-11-06 I1:53AM EST
                     ginas@speanllania.com




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                                                                                               Page 12 of 13

Schedule 2- Regional Manager Agreement
Revised 9/2/15




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                                                                     SCHEDULE             3

                                         ACKNOWLEDGEMENT OF REGIONAL MANAGER
                                                         EXECUTIVE REQUIREMENTS


                                       Gina WSpearman                                               am employed by New American
           Funding (the "Company") and understand that Ihave been hired as a Regional Manager for the
           Company.

                                My primary responsibility is management of the region. Iwill devote more than fifty
           percent (50%) of my working time in each month to executive duties including: managing regional
           employees and directing business of the region ("Executive Duties"). Iunderstand and agree that
           these Executive Duties are matters of significance to Company and that Company relies on my
           discretion and judgment in exercising these Executive Duties.

                                Although Iam permitted to sell Company's mortgage products and services,
           (assuming Ihave obtained all applicable MILD licenses), Iunderstand that Iam strictly prohibited
           from spending more than fifty percent (50%) of my time engaged in sales and/or production
           activities and/or any other activity which is performed by any loan officer or hourly employee
           (collectively "Other Duties").

                         In the event staffing at my Region or any other factor require me to spend fifty
           percent (50%) or more of my working time in a month performing Other Duties, Iagree to notify
           Executive Management no later than the third business day of the following month.

                       I understand my obligation to devote more than fifty percent (50%) of
           working time to Executive Duties and agree that it is my sole responsibility to notify
           Executive Management any month when Ihave not engaged in Executive Duties for over
           fifty percent (50%) of my working time.


                                Dated this        6th   day of November                   20   16




                                                               016



                                Gina W Spearman
                                Manager       -   Printed Name


Gina W Spearman (GWS)
E-signed 2016-11-05 I1:53AM       EST
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                                                                                                                      Page 13 of 13
           Schedule 3-Regional Manager Agreement
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                                                                SCHEDULE              I
                                        REGIONAL MANAGER COMPENSATION DETAILS



           Regional Manager Name:                  Gina Snearman

           Region Managed:                   Southeast Division




GFEiLE Application Effective Date: This Compensation Agreement is effective between Gina Spearman
("Regional Manager") and New American Funding ("NAP') for all GFE/LE Appli ca ti ons *taken on or after
November 1, 2016.

Regional Manager Territory established territory identified as:

Southeast

Territories are subject to change at any time by the discretion of Executive Management.

      1.           Compensation


             1.1      Salary   -       Regional Manager will be paid salary of $1,760.00 bi-weekly. If manager holds an
additional position at NAF and is provided an additional Schedule 1with such other compensation
agreement, Regional Manager will only be paid one bi-weekly salary of $1,760.00.


1.2          Commissions           -   Regional Manager will be paid commissions for his/her personal Regional
originations as set forth in the attached Schedule lA — Commission Schedule subject to a reduction for the
bi-weekly salary described as follows: Regional Manager's bi-weekly scheduled salary of $1,760 will be
deducted from Regional Manager's commissions earned in that same bi-weekly period. Commissions are
earned on the date the loan funds. The Schedule 1A— Commission Schedule in effect on the date the initial
loan application is taken in NAF's Encompass system, and not the compensation scheme in effect on the
date the loan closes or funds, shall dictate the commissions amount the Regional Manager will earn for that
loan.

                    YES', see attached Schedule IA— Commission Schedule Outside Sales

               X    NO, not applicable to this Regional Manager Schedule 1




'Check "YES" if this schedule is applicable for this Regional Manager Agreement. Otherwise check "NO".
                                                                                                                                        Page 1of 6
           Employee Initials   #S        -                Employee's Initial indicates that this page has been read and is understood in its entirety.

           Revised 3/18/16
           *GFE/LE Applications refers to the Good Faith Estimate/Loan Estimate applications.



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                                                      Gina WSpearman (GWS)
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Gino Spearman
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Schedule 1—Regional Manager                                                              Adobe Sign Transaction Number CBJCHOCMeMmrkSxbNE4NOmB5gFuZKSE6OeJV
Page 2 of 6


1.3      Override Bonus         —   Regional Manager is eligible for amonthly bonus payment based on their direct
reports production of funded loans in acalendar month ("Override Bonus")                            Override Bonus is earned on the
last calendar day of amonth. Regional Manager must be employed and assigned as the Regional Manager
of the direct reports on both the first and last day of the month to be eligible to earn Override Bonus for that
branch for that month.

Override Bonus shall be paid on the 10th day of the month following the production month unless that day is
aweekend or.holiday, in which case Override Bonus will be paid on the following business day. When
applicable, Regional Manager shall only be paid the greater of either Override Guarantee as provided for in
Regional Manager's offer letter or Override Bonus as defined above. Under no circumstances will aRegional
Manager be paid both the Override Guarantee and Override Bonus. The Override Bonus formula is identified
below:

         [(applicable number of basis points (bps) earned in a calendar month as set forth in 1.4 and
         1.4.A below and subject to the limitations of 1.4.B MULTIPLIED BYtotal volume originated by
         branch) MINUS Items listed in 1.4.0 PLUS any applicable Override Bonus Add-On described
         Thin 1.4.D below]

         1.4          Override Bonus Calculation Table           —   Override Bonus payable to Regional Manager shall be
calculated per the Override Bonus Calculation Table below. Loan Volume and Units funded by managed
territory branches during a calendar month will receive the BPS shown in the Override Bonus Calculation
Table unless specified otherwise as follows:


                  •   Loan scenarios listed in 1.4.A will earn the bps indicated in 1.4.A
                  •   No Override Bonus is paid on the loan scenarios listed in 1.4.B
                  •   Override Bonus to Regional Manager will be reduced by the amounts shown in 1.4.0
                  • The Override Bonus to Regional Manager will also include the Override Bonus Add-on shown
                      in 1.4.D, if Indicated by 1.4.D


Total Loan Volume and Units funded by the Regional Manager's direct reports during the calendar month
shall be included in the below Calculation Table except that Piggyback Junior Lien Loans, closed end second
lien loans, and Secondary Market Issue loans (loans funded to refinance abad unsalable loan) are not
included:




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Schedule 1 Regional Manager Agreement
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Gina Spearman
October27, 2016
Schedule 1— Regional Manager
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                             Override Bonus Calculation Table (South East Region)

    Loan Volume and Units Originated by Territory to be split 70% to Kelly
    and 30% to Gina Spearman: (see 1.4.13 for loans excluded from override payout)                                         25 BPS
    Excluding Pictqyback, Jumbo, Junior Lion Loans and Secondary Market Issue Loan
    Loan Volume and Units Originated by Branch to be split 70% to Kelly
    Morrison and 30% to Gina Spearman: Excluding Branch Manager loans, Piggyback                                           30 BPS
    Junior Lien Loans and Secondary Market Issue Loans
    Please Review Schedule 7 For Allocations to Authorized Personnel


                                             Compensation Differential

      Kelly and Gina are eligible to receive compensation differential not to exceed 140 BPS in total
      compensation on self-generated loans and house accounts as well as 75 bps maximum
      compensation on brokered loans compensation on all their direct reports. Kelly and Gina will
      split the compensation differential with 70% to Kelly and 30% to Gina. Kelly Morrison will be
      responsible for notifying accounting of the 70/30 split each pay period.


        1.4.A The following loan scenarios will not receive the Override Bonus BPS shown in the above table
but will instead will receive the BPS shown as Indicated below:
                Branch Jumbo Funded Loans (Excluding Kelly Morrison): Max 20 bps (70% to Kelly Morrison and
                30% to Gina Spearman, See Schedule 7 for bonus allocations)
        •       Loans funded by loan officer recruits placed by recruiting firm or internal Recruiting Department
                during the first 18 months of employment of such loan officer recruits: these loans will receive the
                BPS from Override Bonus Calculation Table above minus 5 bps

1.4.8 No Override Bonus will be paid on the following loans:
                  •   Regional Manager Personal Loan Production
                  •   Brokered Loans
                  •   Down Payment Assistance Loans IBond Loans
                  •   Secondary Market Issue Loans (loans fund funded to refinance a bad unsalable loan)
                  •   Loans where the Regional Manager elects in writing to waive all override compensation on
                      such loan.
                  •   Piggyback Junior Lien Loans (2nd Mortgages) and Closed-end Second Lien Loans
                  •   Loans that have a GFE/LE Application date which precedes the effective date of this
                      Schedule 1.
                  •   Loan Applications taken during Monetary Guaranty Period. This refers to loan applications
                      taken by loan consultants that have been hired with amonetary guaranty of $5000 per
                      month or greater. If the GFE/LE application is taken during the Monetary Guaranty Period,
                      then these loans are not eligible for an Override Bonus unless the loan consultant's
                      commissions for any month exceed the amount of the Guaranty. Regional Manager shall

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Schedule 1 Regional Manager Agreement
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                                                  Gina W Spearman(GWS)
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Gino Spearman
October 27, 2015
Schedule 1—Regional Manager                                                         Adobe Sgn Transaction Numbor CSJCHBCA.ABMn,ni,SXbNEINBCSSSFUZFIOE600JVIMVPYXJ
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                          notify Secondary Marketing regarding any loan that qualifies for Override Bonus as
                          described in this paragraph. See attached Schedule 4.

                               YES', see attached Schedule 4—No Override During Guarantee Period

                           X   NO, not applicable to this Area Manager Schedule I

          1.4.0 The following items will be deducted from the Override Bonus calculation:
                   • Any portion of Regional Manager's bi-weekly salary if not already deducted from Regional
                      Manager's Commissions as shown in Section 1.2 above.
                • ASA /Desk Rental Allocation (defined as an amount representing 50% of any ASA or Desk
                          Rental Fee. See attached Schedule 5.

                      -        YES', see attached Schedule 5—Additional Manager Allocations

                          X    NO, not applicable to this Regional Manager Schedule 1

                •     Regional Manager will be reduced 5 BPS on candidates sourced by internal and external
                      recruiters.

                               YES', see attached Schedule S         -   Recruiting Allocation Form

                          X.... NO, not applicable to this Regional Manager Schedule I

                •     Overrides to Authorized Personnel that are identified on the Overrides to Authorized
                      Personnel Addendum if indicated below:

                               YES', see attached Schedule 7 Overrides to Authorized Personnel Addendum
                                                                     -




                          X    NO, not applicable to this Regional Manager Schedule I

          t.4.D Where applicable, Regional Manager will be paid an Override Bonus Add-On as shown on the
          Compensation Differential Schedule(s) if indicated below:

                               YES', see attached Schedule 8 Compensation Differential Schedule(s)
                                                                     -




                          X    NO, not applicable to this Regional Manager Schedule 1




 Check "YES" if this schedule is applicable for this Regional Manager Agreement. otherwise check "NO".
2 Check"YES" If this schedule is applicable for this Regional Manager Agreement Otherwise check "NO".
                                                                                                                                       Page 4of 6
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Schedule I Regional Manager Agreement
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Gino Spearman
October 27, 2016
Schedule 1-   Regional Manager
Page S of S


         1.4.E Regional Manager Overrides shall be paid out on the Direct Reports of the Regional Manager
         as indicated below:

                       -     YES', see attached Schedule 9— Direct Reports Schedule

                       X    NO, not applicable to this Regional Manager Schedule I


2.       Transfers


         2.1       Transfer In    -   Compensation will commence on any licensed employee transferring into one of
your designated branches effective on the GFEILE application effective date as verified by the signed and
approved employment status change form.

         2.2       Transfer Out       -       Compensation will cease on any licensed employee transferring out of any of
your designated branches effective on the GFEILE application effective date as verified by the signed and
approved employment status change form.



3.       Separation or Termination.

         3.1       Commissions            -   Regional Manager will be paid for all loans which have funded on termination
and for loans originated by the Regional Manager which fund within 30 days of termination.


         3.2       override Bonus- Regional Manager must remain actively employed with New American
Funding on the first and last calendar day of the month in order to be eligible to receive Override Bonus, no
prorated or partial override bonuses will be authorized or permitted.

4.       Modification of Compensation. Regional Manager's Compensation including but not limited to:
Commissions, and Override Bonus may be restructured and/or adjusted up or down by Company, in its sole
discretion. Regional Manager shall be provided notice of any adjustments as required by law.



                                                                                Gina W Spearman (GWS)
                                                                                E-signed 2016-11-06 11:53AM EST.
                                                                                ginas@spearmania.com




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Schedule 1— Regional Manager Agreement
Revised 6/19/16
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Gino Spearman
October 27, 2016
Schedule 1—Regional Manager
Page sof6


IN WITNESS WHEREOF, the undersigned have executed this Schedule Idocument effective as of the date
first set forth above.

                    47ia.                                                               Nov 6, 2016
                   /Olsa   W Sotarrean (No, MO15i
                    Employee         -   Signature                                     Date


                     Gina W Spearman
                    Employee         -   Print Name




                    Jan Preslo, EVP Retail Division                                    Date




                    Christy Bunce, COO                                                 Date




                                                                                Gina W Spearman (GWS)
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                                                                                ginas@spearmania.com                     -    -




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Schedule 1— Regional Manager Agreement
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                                                                   SCHEDULE             7

                                                   OVERRIDES To AUTHORIZED PERSONNEL



                Regional Manager Name:                    Gina Spearman

                Region Location:                  Southeast Division

                GFEILE Application Effective Date:                     November 1, 2016




                Purpose      -   This document is to be used in connection with the Schedule 1                          -   Regional Manager
                Agreement where New American Funding allows certain Authorized Personnel to receive an
                Override.

                The below referenced are Authorized Personnel as indicated in section 1.4.0 of Schedule I                                          -




                Regional Manager Agreement. The details of the overrides to Authorized Personal are described
                in the payment details section below:




                Effective Date           Authorized Person                 Payment Details
                11/01/2016                Ester Lee                        Kelly and Gina have requested to allocate 5BPS to
                                                                           Ester Lee on the funded builder production of the
                                                                           Southeast region. Kelly and Gina will be
                                                                           responsible for notifying the accounting department
                                                                           the amount to be paid.
                TBD                       Branch Managers                  Kelly and Gina Have requested to allocate 15 BPS
                                                                           Branch Manager Override to any Branch Managers
                                                                           in the Region. 10 BPS on Jumbo Production and
                                                                           House Accounts. Kelly and Gina will be responsible
                                                                           for notifying the accounting department the amount
                                                                           to be paid.
                11/01/2016                Ken "Nicole" Allison             Kelly and Gina have requested to allocate 5 BPS to
                                                                           Nicole on the funded production of the Sandy
                                                                           Springs branch. Kelly and Gina will be responsible
                                                                           for notifying the accounting department of the
                                                                           amount to be paid each month.
                11/01/2016                Keria Nelson                     Kelly and Gina have requested to allocate 1BP
                                                                           each to Keria on the funded production of their
                                                                           region. Kelly and Gina will be responsible for
                                                                           notifying the accounting department of the amount
                                                                           to be paid each month.




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                                                                 Employees Initial Indicates that this page has been reed and Is understood In its entirety.
                Employee     Initials
                Revised 9/30/15




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        Gina Spearman
        Friday, August 01, 2014
        Schedule 7—Branch Manager
        Page 2 of 2


        This Schedule 7-Overrides to Authorized Personnel shall remain in effect unless it is both
        revoked in writing by the Branch Manager and it is provided to any and all affected Authorized
        Personnel prior the first day of the calendar month the change will go into effect Any such
        modifications including but not limited to additions or subtractions from the list of Authorized
        Personnel and/or changes to the terms of the payments will not take effect until the following
        calendar month. Such changes must be submitted prior to 5:00 p.m. PSI on the last business
        day of the calendar month prior to the effective date.

        IN WITNESS WHEREOF, the undersigned have executed this two (2) page Overrides to
        Authorized Personnel Schedule as of the date shown below:




                                  Qi    6L,'Socatonadt-                                       Nov 6, 2016
                             tin, W Spumini   Nov
                                  Employee     - Signature                                   Date


                                   Gina W Spearman

                                  Employee     -    Print Name




                                  Jan Preslo, EVP Retail Division                            Date




                                  Christy Bunce, COO                                         Date




Gina W Spearman (GWS)
E-signed 2016-11-06 11:53AM ET
ginas@spearmania.com

Adobe Sign Transaction Ntsnber.




                                                                                                                                        Page 2of 2
        Employee Initial                                     Employee's Initial Indicates that this page has been read and is understood in its entirety.

        Schedule 7-Regional Manager Agreement
        Revised 9130/15



                                                                                                                                          MW_0000237
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Lex Watson


From:                             Gina Spearman <ginas@spearmania.com>
Sent:                             Monday, July 1, 2019 8:07 AM
To:                               Lex Watson
Cc:                               kelly morrison
Subject:                          NAF Agreements
Attachments:                      Kelly NAF Docs 6.30.2019pdf Gina NAF Docs 6.30.2019.pdf



Hello Lex, attached are mine and Kelly Morrison's employment agreements for our discussion on our call today. Using
our personal emails for confidentiality. Thank you'




                                                                                                    MW 00002 38
